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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff                                  CRIMINAL 14-0623-1CCC
vs
1) JOSELITO DE LA CRUZ
(Counts One, Two)
2) CARLOS DE LA CRUZ-PINEDA
(Counts One, Two)
3) LUIS G. RIVERA-GONZALEZ
(Counts One, Two, Three)
4) LUIS MARIANO ROJA-SANTANA,
a/k/a “Gordo” (Counts One, Two)
Defendants


                                  ORDER

     Having considered the Report and Recommendation filed on June 19,
2015 (D.E. 76) on a Rule 11 proceeding of defendant [1] Joselito de la Cruz
before U.S. Magistrate-Judge Marcos E. López on June 10, 2015, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of
guilty of defendant is accepted. The Court FINDS that his plea was voluntary
and intelligently entered with awareness of his rights and the consequences of
pleading guilty and contains all elements of the offense charged in the
indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since June 10, 2015. The sentencing
hearing is set for September 9, 2015 at 4:30 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
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grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on July 23, 2015.



                                     S/CARMEN CONSUELO CEREZO
                                     United States District Judge
